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    JS 44 (Rev. 08/ 18)                                                         CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

    I. (a) PLAINTIFFS                                                                                              DEFENDANTS
    Mayor and City Council of Baltimore                                                                          Actelion Pharmaceuticals Ltd., Actelion Pharmaceuticals US, Inc.,
                                                                                                                 Actelion Clinical Research, Inc.
        (b)   County of Residence of First Listed Plaintiff            Baltimore City                             County of Residence of First Listed Defendant Arlesheim (Switzerland)
                                      (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                   NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

        (C)   Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)

    See Attachment 1


    Il. BASIS OF JURISDICTION (P/acean "X"inOneBoxOn/y)                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                          "X" in One Box for Plaintiff
                                                                                                               (For Diversity Cases Only)                                             and One Box for Defendant)
    0 I    U.S. Government                   ~ 3 Federal Question                                                                       PTF           DEF                                             PTF       DEF
              Plaintiff                              (U.S. Government Not a Party)                       Citizen of This State          O 1           0 1        Incorporated or Principal Place       O 4      0 4
                                                                                                                                                                   of Business In This State

    0 2    U.S. Government                   0 4   Diversity                                             Citizen of Another State          0 2        0      2   Incorporated and Principal Place         0 5   0 5
              Defendant                              (Indicate Citizenship ofParties in Item Ill)                                                                   of Business In Another State

                                                                                                         Citizen or Subject of a           0 3        0      3   Foreign Nation                           0 6   0 6
                                                                                                           Forei n Conn
    IV NATURE OF SUIT (Place an                      "X" in One Box Only)                                                                              c1·IC kh ere f,or: N ature ofS Ult Cd
                                                                                                                                                                                           o e D escnotwns.
I              CONTRACT                                            TORTS                                     FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES              I
    0   110 Insurance                        PERSONAL INJURY                 PERSONAL INJlJRY            0 625 Drug Related Seizure             0 422 Appeal 28 USC 158              0 375 False Claims Act
    0   120 Marine                       0   310 Airplane                  0 365 Personal Injury -               of Prope1ty 21 USC 881         0 423 Withdrawal                     0 376 Qui Tam t31 USC
    0   130 Miller Act                   0   315 Airplane Product                 Product Liability      0 690 Other                                       28 USC 157                          3729(a))
    0   140 Negotiable Instrument                 Liability                0 367 Health Care/                                                                                       0 400 State Reapportionment
    0   150 Recovery of Overpayment      0   320 Assault, Libel &                Pharmaceutical                                                     PROPERTY RIGHTS                  ~ 410 Antitrust
            & Enforcement of Judgment             Slander                        Personal Injury                                                0 820 Copyrights                    0   430 Banks and Banking
    0   151 Medicare Act                 0   330 Federal Employers'              Product Liability                                              0 830 Patent                        0   450 Commerce
    0   152 Recovery of Defaulted                 Liability                0 368 Asbestos Personal                                              0 835 Patent - Abbreviated          0   460 Deportation
            Student Loans                0   340 Marine                           Injmy Product                                                            New Drug Application     0   4 70Racketeer Influenced and
            (Excludes Veterans)          0   345 Marine Product                   Liability                                                     0 840 Trademark                             Corrupt Organizations
    0   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                          1.AKtlR                      SIii •AI SE1 ·11RITY            0   480 Consumer Credit
            of Veteran's Benefits        0   350 Motor Vehicle             0 370 Other Fraud             0 710 Fair Labor Standards             0   861 HIA (l395tl)                0   485 Telephone Consumer
    0   160 Stockholders' Suits          0   355 Motor Vehicle             0 371 Truth in Lending                Act                            0   862 Black Lung (923)                    Protection Act
    0   190 Other Contract                       Product Liability         0 380 Other Personal          0 720 Labor/Management                 0   863 DIWC/DIWW (405(g))          0   490 Cable/Sat TV
    0   195 Contract Product Liability   0   360 Other Personal                  Property Damage                  Relations                     0   864 SSID Title XVI              0   850 Securities/Commodities/
    0   196 Franchise                            Injury                    0 385 Property Damage         0   740 Railway Labor Act              0   865 RSI (405(g))                        Exchange
                                         0   362 Personal Injury -               Product Liability       0   751 Family and Medical                                                 0   890 Other Statut01y Actions
                                                 Medical Malpractice                                              Leave Act                                                         0   891 Agricultural Acts
I           REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS           0   790 Other Labor Litigation             FEDERAL TAX SUITS               0   893 Environmental Matters
    0   210 Land Condemnation            0   440 Other Civil Rights          Habeas Corpus:              0   791 Employee Retirement            0 870 Taxes (U.S. Plaintiff         0   895 Freedom oflnformation
    0   220 Foreclosure                  0   441 Voting                    0 463 Alien Detainee                  Income Security Act                       or Defendant)                    Act
    0   230 Rent Lease & Ejectrnent      0   442 Employment                0 510 Motions to Vacate                                              0 871 IRS-Third Party               0   896 Arbitration
    0   240 Torts to Land                0   443 Housing/                        Sentence                                                                  26 USC 7609              0   899 Administrative Procedure
    0   245 Tort Product Liability               Accommodations            0 530 General                                                                                                    Act/Review or Appeal of
    0   290 All Other Real Property      0   445 Amer. w/Disabilities -    0 535 Death Penalty                   IMMIGRATION                                                                Agency Decision
                                                 Employment                  Other:                      0 462 Naturalization Application                                           0   950 Constitutionality of
                                         0   446 Amer. w/Disabilities -    0 540 Mandanms & Other        0 465 Other Immigration                                                            State Statutes
                                                 Other                     0 550 Civil Rights                    Actions
                                         0   448 Education                 0 555 Prison Condition
                                                                           0 560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement

V. ORIGIN              (Place an "X" in One Box Only)
~ 1 Original                 O 2 Removed from                  0   3      Remanded from             0 4 Reinstated or       0 5 Transferred from                 0 6 Multidistrict              0 8 Multidistrict
    Proceeding                   State Court                              Appellate Court               Reopened                Another District                     Litigation -                   Litigation -
                                                                                                                                    (specify)                        Transfer                      Direct File
                                               Cite the U.S. Civil Statute under which ou are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION 5 U.S.C.                                   26; 15 U.S.C.                8
                                                                                       2; 2 U.S.C.           1332(d)
                                               Brief description of cause:
                                               Class action for damages and injunctive relief under Federal and State antitrust and consumer protection laws.
VII. REQUESTED IN   111 CHECK IF THIS IS A CLASS ACTION                                                      DEMAND $                                        CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDERRULE23 , F .R.Cv.P .                                                                                                           JURY DEMAND:         M Yes       No          •
vm. RELATED CASE(S)
                       (See instructions):
     IF ANY                                JUDGE
DATE
    11/19/2018
FOR OFFICE USE ONLY

        RECEIPT#                      AMOUNT                                     APPL YING IFP                                     JUDGE                                 MAG.JUDGE
JS 44 Reverse (Rev. 08/18)
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


MAYOR AND CITY COUNCIL OF
BALTIMORE on behalf of itself and all
others similarly situated,

             Plaintiff,                          CASE NO. _______________

v.

ACTELION PHARMACEUTICALS LTD.,
et al.

             Defendants.


                     ATTACHMENT 1 TO CIVIL COVER SHEET

                            Section I. (c) – Attorneys for Plaintiffs

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                         Greg Arnold (pro hac vice forthcoming)
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